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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
V. 20-CR-199-LJV
DAVID CALAIACOVO,

Defendant.

 

PLEA AGREEMENT
The defendant, DAVID CALAIACOVO, and the United States Attorney for the
Western District of New York (hereinafter "the government") hereby. enter into a plea

agreement with the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE

 

1. The defendant agrees to waive indictment and to plead guilty to a one count
Information which charges a violation of Title 18, United States Code, Section
2252A(a)(5)(B) (possession of child pornography involving a prepubescent minor or minor
who had not attained 12 years of age), for which the maximum possible sentence is a term of
imprisonment of 20 years, a fine of $250,000, a mandatory $100 special assessment and a
term of supervised release of at least 5 years and up to life. The defendant understands that
the penalties set forth in this paragraph are the maximum penalties that can be imposed by

the Court at sentencing.
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2. The defendant understands that, unless the defendant is indigent, the Court
must impose a special assessment of $5,000 pursuant to Title 18, United States Code, Section

3014, in addition to the assessment imposed under Title 18, United States Code, Section 3013.

3. The defendant understands that the Court must impose an assessment of not
more than $17,000 for the offense of conviction pursuant to Title 18, United States Code,
Section 2259A(a)(1), in addition to any other criminal penalty, restitution, or special

assessment.

4. The defendant acknowledges that pursuant to Title 18, United States Code,
Section 2259(b)(2), the Court must order restitution for the full amount of the compensable
losses of the victims as determined by the Court, but no less than $3,000 per victim. The
defendant understands that the defendant will not be entitled to withdraw the plea of guilty

based upon any restitution amount ordered by the Court.

5. The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required
to serve in prison all or part of the term of supervised release, up to 2 years, without credit for
time previously served on supervised release and if the defendant commits any criminal
offense under Chapter 109A, 110 or 117, or Sections 1201 or 1591 of Title 18, United States
Code, for which imprisonment for a term longer than 1 year can be imposed, the defendant
shall be sentenced to a term of imprisonment of not less than 5 years and up to life. Asa
consequence, in the event the defendant is sentenced to the maximum term of incarceration,

a prison term imposed for a violation of supervised release may result in the defendant serving
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a sentence of imprisonment longer than the statutory maximum set forth in {1 of this

agreement.

6. The defendant has been advised and understands that under the Sex Offender
Registration and Notification Act, the defendant must register and keep registration current
in all of the following jurisdictions: where the defendant resides; where the defendant is
employed; and where the defendant is a student. The defendant understands the requirements
for registration include providing the defendant’s name, residence address, and the names and
addresses of any places where the defendant is or will be an employee or student, among other
information. The defendant further understands that the requirement to keep the registration
current includes informing at least one jurisdiction in which the defendant resides, is an
employee, or is a student, not later than three (3) business days after, any change of the
defendant’s name, residence, employment, or student status. The defendant has been advised
and understands that failure to comply with these obligations subjects the defendant to
prosecution for failure to register under federal law, Title 18, United States Code, Section

2250, which is punishable by imprisonment, a fine, or both.

7. The defendant acknowledges that a conviction in this action may result in the
defendant’s civil commitment pursuant to 18 U.S.C. § 4248 as a sexually dangerous person.
The defendant understands that a determination as to whether the defendant will be subject
to civil commitment will be made initially by the Attorney General or the Director of the
Bureau of Prisons at the conclusion of the defendant’s term of imprisonment and that the

Court will make the final determination in a separate proceeding.
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Il. ELEMENTS AND FACTUAL BASIS
8. The defendant understands the nature of the offense set forth in 1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:

a. the defendant knowingly possessed material that contained an image of
child pornography, as defined in Title 18, United States Code, Section

2256(8); wu
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b. that such eka had been mailed, shipped, or transported

in or affecting interstate or foreign commerce by any means, including
by computer, or was produced using materials that had been mailed,
shipped, or transported in or affecting interstate or foreign commerce by
any means, including by computer;

c. the defendant knew that such material contained child pornography;
and
d. at least one of the child pornography images depicted prepubescent

minors or minors under twelve years of age.

FACTUAL BASIS
9. The defendant and the government agree to the following facts, which form the
basis for the entry of the plea of guilty including relevant conduct:

a. On or about June 27, 2019, the defendant, in the Western District of
New York, knowingly possessed material containing images and videos
of child pornography, which are images and videos of children being
raped, sexually assaulted, and sexually exploited. The images on the
defendant’s electronics exploit and abuse children for sexual stimulation
and gratification of the viewer. These images and videos were stored on
a Dell Dimension B110 Tower and Toshiba Satellite L645D laptop
computer—both of which were manufactured outside of New York
State. These images also had been transmitted in interstate or foreign
commerce via the Internet.

b. On or about June 27, 2019, Homeland Security Investigations executed
a search warrant at the defendant’s residence and found several
electronics, including a Toshiba Satellite L645D laptop computer and
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Dell Dimension B110 Tower. A search of those items revealed more
than 800 child exploitation images.

c. Some of the images of children being raped, sexually assaulted, and
sexually exploited which the defendant possessed depicted prepubescent
minors or minors less than 12 years of age, and some of the
aforementioned images possessed by the defendant contained sadistic
or masochistic conduct or other depictions of sexual violence. Sexual
violence consists of a purposeful action in which the intention is to
inflict severe humiliation on the victims depicted in the images and to
diminish human dignity of those victims.

d. In total, the defendant possessed more than 800 images and videos of
children being raped, sexually assaulted, or sexually exploited. At the

time the defendant possessed the images and videos, he knew that they
depicted minors being raped, sexually assaulted, or sexually exploited.

Il. SENTENCING GUIDELINES
10. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL
11. |The government and the defendant agree that Guidelines § 2G2.2(a)(1) applies

to the offense of conviction and provides for a base offense level of 18.

SPECIFIC OFFENSE CHARACTERISTICS
U.S.S.G. CHAPTER 2 ADJUSTMENTS

12. The government and the defendant agree that the following specific offense

characteristics do apply:

a. the two level increase pursuant to Guidelines § 2G2.2(b)(2) [material
involved a prepubescent minor or a minor under the age of 12 years];
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b. the four level increase pursuant to Guidelines § 2G2.2(b)(4) [offense
involved material that portrays sadistic, masochistic, or other depictions
of violence];

c. the two level increase pursuant to Guidelines § 2G2.2(b)(6) [offense
involved use of a computer]; and

d. the five level increase pursuant to Guidelines § 2G2.2(b)(7)(D) [offense
involved 600 or more images].

ADJUSTED OFFENSE LEVEL
13. | Based on the foregoing, it is the understanding of the government and the

defendant that the adjusted offense level for the offense of conviction is 31.

ACCEPTANCE OF RESPONSIBILITY
14. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level decrease of Guidelines § 3E1.1(a) (acceptance of
responsibility) and further agrees to move the Court to apply the additional one (1) level

decrease of Guidelines § 3E1.1(b), which would result in a total offense level of 28.

CRIMINAL HISTORY CATEGORY
15. It is the understanding of the government and the defendant that the
defendant's criminal history category is I. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.
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GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT
16. It is the understanding of the government and the defendant that, with a total
offense level of 28 and criminal history category of I, the defendant's sentencing range would
be a term of imprisonment of 78 to 97 months, a fine of $25,000 to $250,000, and a period of
supervised release of 5 years to life. Notwithstanding this, the defendant understands that at

sentencing the defendant is subject to the maximum penalties set forth in { 1 of this agreement.

17. The government and the defendant agree to the Sentencing Guidelines
calculations set forth in this agreement and neither party will advocate or recommend the
application of any other Guideline, or move for any Guidelines departure, or move for or
recommend a sentence outside the Guidelines, except as specifically set forth in this
agreement. A breach of this paragraph by one party will relieve the other party of any
agreements made in this plea agreement with respect to sentencing motions and
recommendations. A breach of this paragraph by the defendant shall also relieve the

government from any agreements to dismiss or not pursue additional charges.

18. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

IV. STATUTE OF LIMITATIONS
19. Inthe event the defendant’s plea of guilty is withdrawn, or conviction vacated,

either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
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attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any federal criminal offense which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty plea or vacating of

the conviction becomes final.

V. REMOVAL
20. The defendant represents that he is a citizen of the United States. However, if
the defendant is not a citizen of the United States, the defendant understands that, if
convicted, the defendant may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

VI. GOVERNMENT RIGHTS AND OBLIGATIONS
21. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and
evidence available to the government;

c. advocate for a specific sentence consistent with the terms of this
agreement including the amount of restitution and/or a fine and the
method of payment; and

d. modify its position with respect to any sentencing recommendation or
sentencing factor under the Guidelines including criminal history
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category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor.

22. At sentencing, the government will move to dismiss the Criminal Complaint

pending against the defendant under Magistrate's No. 19-MJ-5167.

23. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

Vil. APPEAL RIGHTS

24. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section III, | 16, above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant's
sentence by the government, the defendant reserves the right to argue the correctness of the

defendant's sentence.

25. The defendant understands that by agreeing not to collaterally attack the

sentence, the defendant is waiving the right to challenge the sentence in the event that in the
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future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.

26. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine and supervised release set forth in Section III, 416, above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendant's sentence by the defendant, the government reserves

its right to argue the correctness of the defendant's sentence.

VIII. COMPUTER FORFEITURE PROVISIONS
27. The defendant specifically acknowledges that in furtherance of the defendant's
criminal conduct the defendant utilized the following computer equipment and other
electronic media which were seized by law enforcement officials based upon the execution of
a search warrant:
a. a Dell Dimension B110 Tower (serial number 0YD5447082166G41N7); and
b. a Toshiba Satellite L645D (serial number YA053651W) with Installed Hard

Drive Seagate Momentus XT (model ST750LX003_750GB_W200L3RS)

28. Since the computer, related media and online account(s) were instrumentalities
of the crime, the defendant specifically agrees to the forfeiture or abandonment of the
computers and all of the components and related media to the United States pursuant to Title
18, United States Code, Sections 2253(a)(1) and 2253(a)(3). In addition, the defendant agrees

to forfeit all interests in any and all online accounts that contain victims' information pursuant

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to Title 18, United State Code, Sections 2253(a)(1) and 2253(a)(3). All forfeited property will
be referenced in the PRELIMINARY ORDER OF FORFEITURE, and the defendant
waives any rights or interest in those items which the defendant may still possess or for which

the defendant may have any claim.

29. The defendant understands that the United States and any law enforcement
agency acting on behalf of the United States may, in its discretion, destroy any or all of the

property referred to in this agreement.

30. After the acceptance of the defendant’s guilty plea, and pursuant to Rule
32.2(b)(2) of the Federal Rules of Criminal Procedure, the Court will issue a Preliminary
Order of Forfeiture for the items listed above. The defendant hereby waives any right to notice
of such Preliminary Order of Forfeiture. The defendant further consents and agrees that the
Preliminary Order of Forfeiture and a Final Order of Forfeiture shall issue and become final
as to the defendant prior to sentencing and agrees that it shall be made part of the defendant’s
sentence and included in the judgment pursuant to Rule 32.2(b)(4) of the Federal Rules of
Criminal Procedure. The defendant further agrees to waive any time restrictions or
requirements as provided in Title 18, United States Code, Section 983, any notice provisions
in Rules 32.2 and 43(a) of the Federal Rules of Criminal Procedure regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. The defendant acknowledges that the
defendant understands that the forfeiture of property is part of the sentence that may be

imposed in this case and waives any failure by the Court to advise the defendant of this,

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pursuant to Rule 11(b)(1)(J) of the Federal Rules of Criminal Procedure, at the time the guilty
plea is accepted. Forfeiture of the defendant's property shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may impose upon

the defendant in addition to forfeiture.

31. The defendant knowingly, intelligently, and voluntarily waives his right to a
jury trial on the forfeiture of the assets. The defendant knowingly, intelligently, and
voluntarily waives all constitutional, legal and equitable defenses to the forfeiture of these
assets in any proceeding, including any jeopardy defense or claim of double jeopardy, whether
constitutional or statutory, as to this criminal proceeding or any related civil or administrative
proceeding. The defendant further agrees to waive any claim or defense under the Eighth
Amendment to the United States Constitution, including any claim of excessive fine regarding

the forfeiture of assets by the United States.

IX. TOTAL AGREEMENT AND AFFIRMATIONS
32. This plea agreement represents the total agreement between the defendant,
DAVID CALAIACOVO, and the government. There are no promises made by anyone other
than those contained in this agreement. This agreement supersedes any other prior
agreements, written or oral, entered into between the government and the defendant.
JAMES P. KENNEDY, JR.

United States Attorney
Western District of New York

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CHARLES M. KRULY
Assistant United States Attorney
Dated: May \©, 2021

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I have read this agreement, which consists of pages 1 through 13. I have had a full
opportunity to discuss this agreement with my attorney, Herbert L. Greenman, Esq.. I agree
that it represents the total agreement reached between me and the government. No promises
or representations have been made to me other than what is contained in this agreement. I
understand all of the consequences of my plea of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.

DAVID CALAIACOVO ERGERT L. GREENMAN, ESQ.

Defendant Attorney for the Defendant

 

Dated: May _10, 2021 Dated: May _10, 2021

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